r   Case 1:17-cr-20215-RNS Document 160 Entered on FLSD Docket 06/05/2019 Page 1 of 2




                                     UN ITED STAT ES D ISTR ICT C O U R T         FILED BY .                 D.C .
                                     SO UTH ERN D ISTR IC T O F FLO R IDA
                                                                                        JUN 2112212
                                        C ase N o.17-20215-C R-SC O LA                   ANGELA E.NOBLE
                                                                                        cLEnKu.S.o1sm cT.
                                                                                        s.D,OF FLA,.MIAM I

       UN ITED STA TES OF A M ERICA ,



       JU AN P.G RA N DA ,

                      Defendant.


         U N O PPO SED M O TIO N T O UN SEAL TH E SEN TEN C IN G H EA R IN G REC O R D IN G

              Defendant Juan Granda, through undersigned counsel, m oves for an order to unseal a

       portion ofthe sentencing hearing held on January 19, 2018 in orderforthe courtreporterto prepare

       a w ritten transcriptofthe hearing.

                      On January 19,2018,this Coul'
                                                  t held a sentencing hearing for Defendants Juan

       G randa and Sam er Barrage.

                      The courtreporter infonued undersigned counsel thata portion of the recording

       w as sealed,and thatan orderunsealing the recording is needed to proceed w ith transcription.

              3.     The undersigned has conferred with counselfor the govem m ent, who does not

      oppose thereliefrequested in thism otion.

              W H EREFO RE,D efendantJuan Grandarespectfully requeststhatthisCourtenteran order

      unsealing the January 19, 20l8sentencinghearing in orderto pennititstranscription.

                                                   Resped fully Sub itted,


                                                   A llison Green
                                                   Fla.BarN o.111382
                                                   agreen@ mnrlawfinu.com
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                                               M AR C U S N EIM A N & R ASH BA UM L LP
                                               2 South BiscayneBoulevard,Suite 1750
                                               M iam i,Florida 33131
                                               Telephone:(305)400-4260
                                               CounselforDefendantJuanP.Granda

                                  C ERT IFICA T E O F SER VIC E
          Ihereby certify thaton June 4,2019,atnze and correctcopy oftheforegoing m otion was

   conventionally tiled w ith the Clerk ofCourt.
                                                               '

                                                                   %
                                                     A llison Green
